            Case 1:21-cr-00576-RC Document 29 Filed 02/01/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :
                                                  :
       v.                                         :       Criminal Action No.: 21-576 (RC)
                                                  :
FLOYD RAY ROSEBERRY,                              :
                                                  :
       Defendant.                                 :

            ORDER MODIFYING DEFENDANT’S CONDITIONS OF RELEASE

       At the hearing on January 27, 2023, Defendant requested modification of his conditions

of release to: (1) travel with his wife to her doctor’s appointments; and (2) travel with his wife to

Tennessee from February 22, 2023 through February 26, 2023 to visit his mother-in-law. The

government and Probation Office do not oppose this request.

       Accordingly, the Order Setting Conditions of Release, ECF No. 19, shall be modified in

relevant part as follows:

       Defendant is restricted to 24-hour-a-day lockdown at his residence, including the
       entire perimeter of his property, except for fishing and recreational activities at
       Southern Carp Lake near his residence, accompanying his wife to her doctor’s
       appointments, and medical necessities and court appearances or other activities
       specifically approved by the court. Defendant is also given permission to travel
       with his wife to                                              from February 22,
       2023 through February 26, 2023 to visit his mother-in-law. Defendant’s curfew
       shall be temporarily suspended from February 22, 2023 through February 26,
       2023.

       SO ORDERED.


Dated: February 1, 2023                                             RUDOLPH CONTRERAS
                                                                    United States District Judge
